                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


    CHRISTOPHER MOEHRL, MICHAEL
    COLE, STEVE DARNELL, VALERIE
    NAGER, JACK RAMEY, DANIEL UMPA,                    Case No.: 1:19-cv-01610
    and JANE RUH, on behalf of themselves and
    all others similarly situated,                     Judge Andrea R. Wood

                          Plaintiffs,



         v.

    THE NATIONAL ASSOCIATION OF
    REALTORS, REALOGY HOLDINGS
    CORP., HOMESERVICES OF AMERICA,
    INC., BHH AFFILIATES, LLC HSF
    AFFILIATES, LLC, THE LONG & FOSTER
    COMPANIES, INC., RE/MAX LLC, and
    KELLER WILLIAMS REALTY,INC.,

                          Defendants.


                        PLAINTIFFS’ MOTION FOR CLASS
              CERTIFICATION AND APPOINTMENT OF CLASS COUNSEL

        Plaintiffs Christopher Moehrl, Michael Cole, Steve Darnell, Jack Ramey, Daniel Umpa,

and Jane Ruh (collectively “Plaintiffs”) hereby move this Court, pursuant to Federal Rule of Civil

Procedure 23, for an order certifying the following Classes:

        (1) Monetary Damages Class Pursuant to Rule 23(b)(3):

        Home sellers who paid a commission between March 6, 2015, and December 31,
        2020, to a brokerage affiliated with a Corporate Defendant in connection with the
        sale of residential real estate listed on a Covered MLS and in a covered
        jurisdiction. 1 Excluded from the class are (i) sales of residential real estate for a

1A “Covered MLS” includes any MLSs that were NAR-affiliated and whose listings were maintained as
of June 30, 2021 by the Covered MLS. The Covered MLSs and jurisdictions are: Bright MLS (Jurisdiction:
Delaware, Maryland, District of Columbia, New Jersey, Pennsylvania, Virginia, West Virginia);
Carolina/Canopy MLS (North Carolina, South Carolina); Triangle MLS (North Carolina); Stellar MLS



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         price below $56,500, (ii) sales of residential real estate at auction, and (iii)
         employees, officers, and directors of defendants, the presiding Judge in this case,
         and the Judge’s staff.

         (2) Injunctive Relief Class Pursuant to Rule 23(b)(2):

         Current and future owners of residential real estate in the covered jurisdictions who
         are presently listing or will in the future list their home for sale on a Covered MLS.
         Excluded from the class are (i) sales of residential real estate for a price below
         $56,500, (ii) sales of residential real estate at auction, and (iii) employees, officers,
         and directors of defendants, the presiding Judge in this case, and the Judge’s staff.

         This Motion is based on the accompanying Memorandum in Support, all accompanying

declarations, exhibits, expert reports, oral argument, and such other information as the Court may

consider in hearing the motion. Class treatment is warranted here because the salient legal and

factual questions can be resolved by proof common to all Class Members. Plaintiffs satisfy all the

requirements of Rule 23(a), 23(b)(3), and 23(b)(2); and class counsel are adequate under Rule

23(g).

         WHEREFORE, Plaintiffs respectfully request that the Court: (1) grant Plaintiffs’ motion

for class certification of their antitrust claims; (2) certify the proposed Damages Class pursuant to

Federal Rule of Civil Procedure 23(b)(3); (3) certify the proposed Injunctive Relief Class pursuant

to Federal Rule of Civil Procedure 23(b)(2); (4) appoint Plaintiffs as class representatives for the

Proposed Classes; and (5) appoint Cohen Milstein Sellers & Toll PLLC, Hagens Berman Sobol

Shapiro LLP, and Susman Godfrey LLP as co-lead class counsel pursuant to Federal Rule of Civil

Procedure 23(g).




(Florida); Miami MLS (Florida); Florida Gulf Coast (Florida); Metro MLS (Wisconsin); Yes MLS/MLS
Now (Ohio, West Virginia); Columbus Realtors MLS (Ohio); Northstar MLS (Minnesota, Wisconsin);
Wasatch Front/Utah Real Estate (Utah); REcolorado/Metrolist (Colorado); Pikes Peak MLS (Colorado);
GLVAR MLS (Nevada); SABOR (Texas); ACTRIS/ABOR (Texas); HAR MLS (Texas); NTREIS (Texas);
ARMLS (Arizona); and Realcomp II (Michigan). For purposes of the (b)(2) class, “Covered MLS” includes
any successor of a Covered MLS.



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DATED: February 23, 2022    Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on February 23, 2002, a true and correct

copy of the foregoing was electronically filed by the Court’s CM/ECF system, which caused notice

to be sent to all counsel of record.

                                             /s/    Marc M. Seltzer
                                                    Marc M. Seltzer




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